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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION



 RYAN, LLC,

       Plaintiff,

 CHAMBER OF COMMERCE OF
 THE UNITED STATES OF                       CASE NO.: 3:24-CV-986-E
 AMERICA, et al.,

       Plaintiff-Intervenors,

 v.

 FEDERAL TRADE COMMISSION,

              Defendant.


         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

      Defendant Federal Trade Commission (“the Commission”) moves under

Federal Rule of Civil Procedure 56 for summary judgment on all of Plaintiff’s—Ryan,

LLC—and Plaintiff-Intervenors’— the U.S. Chamber of Commerce, Business

Roundtable, Texas Association of Business, and Longview Chamber of Commerce—

claims. Plaintiff and Plaintiff-Intervenors seek to invalidate the Commission’s rule

declaring most existing non-compete clauses in contracts (“non-competes”) to be

unenforceable “unfair methods of competition,” subject to an exception for certain
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senior executives, and banning the future use of most non-competes. Non-Compete

Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024) (“Rule” or “Final Rule”).

       The Commission is entitled to judgment as a matter of law because: (1) Congress

authorized the Commission in clear language to prevent unfair methods of competition

through both adjudication and rulemaking, and the Commission’s choice of rulemaking

to address the anticompetitive effects of non-competes is both logical and

unremarkable; (2) the major questions doctrine is not implicated, as the Rule falls

squarely within the Commission’s delegated authority and expertise; (3) the Sherman

Act’s framework is inapplicable, since the Federal Trade Commission Act was designed

to supplement the Sherman Act and expressly confers the authority to prevent unfair

methods of competition; (4) the Federal Trade Commission Act provides an intelligible

principle by which the Rule can be measured; (5) the Rule is not unlawfully retroactive

since it has only prospective effects; (6) Ryan’s removal challenge is foreclosed by

binding precedent; and (7) the Commission easily satisfies the deferential arbitrary-and-

capricious standard given its exhaustive study of non-competes and thorough economic

justifications for the Rule.

       This motion is accompanied by a brief that contains the contents required by

Local Civil Rule 56.3(a) and Federal Rule of Civil Procedure 56(a). For the reasons

explained in the accompanying brief, the Court should enter judgment for the

Commission.



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 Dated: August 2, 2024                       Respectfully submitted,

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                                             General

                                             LESLEY R. FARBY
                                             Assistant Branch Director

                                             /s/ Rachael L. Westmoreland
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                        CERTIFICATE OF WORD COUNT

      This document complies with the Court’s word count requirement because it

contains 298 words.



Dated: August 2, 2024                    /s/ Rachael L. Westmoreland
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                           CERTIFICATE OF SERVICE

       On August 2, 2024, I electronically filed the above response with the clerk of

court for the U.S. District Court, Northern District of Texas. I certify that I have served

all parties electronically or by another manner authorized by Federal Rule of Civil

Procedure 5(b)(2).



/s/ Rachael L. Westmoreland

Rachael L. Westmoreland




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